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                          UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                 DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                          404-215-1655
 AND CLERK OF COURT
                                       September 18, 2018

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:17-cv-2989-AT
       U.S.C.A. No.: 00-00000-00
       In re:        Donna Curling et al v. Brian P. Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

       Certified copies of the notice of appeal, docket sheet and judgment and/or order
  X    appealed enclosed.
       This is not the first notice of appeal. Other notices were filed on: .
       There is no transcript.
  X    The court reporter is Sharron Welch.
       There is sealed material as described below: .
       Other: .
  X    Fee paid electronically on 9/18/18 (Receipt# 113E-8153375).
       Appellant has been leave to file in forma pauperis.
       This is a bankruptcy appeal. The Bankruptcy Judge is .
       The Magistrate Judge is .
  X    The District Judge is Amy Totenberg.
       This is a DEATH PENALTY appeal.

                                                             Sincerely,

                                                             James N. Hatten
                                                             District Court Executive
                                                             and Clerk of Court


                                                       By:    P. McClam
                                                             Deputy Clerk
Enclosures
